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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   SOSSI KETCHEDJIAN,                                      Case No.:


          Plaintiff,

          v.

   TD BANK, N.A., TRANS UNION, LLC,
   EXPERIAN INFORMATION SOLUTIONS,
   INC. and
   EQUIFAX INFORMATION SERVICES, LLC,

          Defendants,
                                                     /

                                 COMPLAINT FOR DAMAGES
                                     JURY DEMAND

           1.      Plaintiff, SOSSI KETCHEDJIAN (“Plaintiff,” or “Mrs. Ketchedjian,”) by and

   through the undersigned counsel hereby brings this action against Defendant TD BANK, N.A,

   (“TD Bank”) for violations of Fair Credit Reporting Act, 15 U.S.C. § 1681 et. seq. (“FCRA”)

   and the Florida Consumer Collection Practices Act, Fla. Stat. §559.72 et. seq. (“FCCPA”).

          2.       Additionally, Plaintiff brings this action against Defendants TRANS UNION,

   LLC (“Trans Union”), EXPERIAN INFORMATION SOLUTIONS, INC. (“Experian”), and

   EQUIFAX INFORMATION SERVICES, LLC (“Equifax”) for violations of the FCRA and as

   grounds thereof would allege as follows:

                                 JURISDICTION AND VENUE

          3.       This Court has jurisdiction under 28 U.S.C. § 1331 because this action arises

   under the laws of the United States.

           4.      Supplemental jurisdiction exists for Plaintiff’s FCCPA claims pursuant to 28

   U.S.C. §1367.

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            5.      Venue here is proper under 28 U.S.C. § 1391 because a substantial part of the

   events giving rise to the claim occurred in Broward County, Florida.

                                                PARTIES

           6.       Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

           7.       Plaintiff is a natural person who, at all times relevant to this action is and was a

   resident of Broward County, Florida and is a “consumer” as defined by 15 U.S.C. § 1681a(c).

           8.       Defendant TD Bank is a Delaware corporation with a place of business at 1680

   TD Bank Drive, McLean, Virginia 22102, with minimum contacts within the state of Florida

   by way of offering consumer credit cards to its customers, including Plaintiff. TD Bank

   maintains a registered agent in Florida on CORPORATION SERVICE COMPANY 1201

   HAYS STREETTALLAHASSEE, FL 32301-2525.

           9.       TD Bank uses instrumentalities of interstate commerce for the purpose of

   furnishing information on specific trade accounts to Consumer Reporting Agencies (“CRAs”).

           10.      These instrumentalities of interstate commerce are largely electronic or

   telephonic communications which have effects on consumers account balances and their credit

   files within the State of Florida.

           11.      Defendant, Trans, Union is a limited liability company incorporated under the

   laws of the State of Delaware, whose members are citizens of the State of Illinois. Trans Union

   is authorized to do business in and regularly conducts business in the State of Florida and is

   engaged in the business of assembling, evaluating, and disbursing information concerning

   consumers for the purpose of furnishing consumer reports as defined in 15 U.S.C. § 1681d to

   third parties.



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          12.     Defendant, Experian is an Ohio corporation incorporated under the laws of the

   State of Delaware. Experian is authorized to do business in the State of Florida and is engaged

   in the business of assembling, evaluating, and disbursing information concerning consumers

   for the purpose of furnishing consumer reports as defined in 15 U.S.C. § 1681d to third parties.

          13.     Defendant, Equifax is a Georgia limited liability company incorporated under

   the laws of the State of Delaware. Equifax is authorized to do business in the State of Florida

   and is engaged in the business of assembling, evaluating, and disbursing information

   concerning consumers for the purpose of furnishing consumer reports as defined in 15 U.S.C.

   § 1681d to third parties.

          14.     Trans Union, Experian, and Equifax shall collectively be referred to as the

   “Credit Reporting Agencies” or the “CRAs.”

                                 STATUTORY FRAMEWORK

           The FCRA

          15.     The Fair Credit Reporting Act, 15 U.S.C. §1681 et. seq., was originally enacted

   in 1970 for the purpose of regulating the collection, dissemination, and use of consumer credit

   information.

          16.     The FCRA is intended “to protect consumers from the transmission of

   inaccurate information about them, and to establish credit reporting practices that utilize

   accurate, relevant, and current information in a confidential and responsible manner.” See

   Cortez v. Trans Union, LLC, 617 F.3d 688, 706 (3d Cir. 2010).

          17.     Congress found that “[i]nnacurate credit reports directly impair the efficiency

   of the banking system, and unfair credit reporting methods undermine the public confidence



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   which is essential to the continued functioning of the banking system.” See 15 U.S.C.

   §1681(a)(1).

          18.     The FCRA was amended by Congress in 2003 by the Fair and Accurate Credit

   Transaction Act (“FACTA”), Pub L. No. 108-159 (2003), to, among other things, “prevent

   identity theft, improve resolution of consumer disputes, [and] improve the accuracy of

   consumer records.”

          19.     Prior to the 2003 amendments, victims of identity theft were afforded no special

   protections under the FCRA.

          20.     By enacting 15 U.S.C. § 1681c-2(a), Congress required CRAs to block the

   reporting of any information in the file of a consumer that the consumer identifies as resulting

   from identity theft, not later than four business days after receiving (1) appropriate proof of

   identity, (2) a copy of an identity theft report, (3) the identification of such information by the

   consumer, and (4) a statement by the consumer that the information is not information relating

   to any transaction by the consumer.

          21.     The ability to obtain a “block” of information is especially important to

   consumers because once a block is in place, the account is permanently removed from the

   consumer’s credit report and creditors are prohibited from sending the blocked account to

   collections. See 15 U.S.C. § 1681m(f).

          22.     A CRA may decline to “block” information only if the CRA reasonably

   determines that the consumer’s request is made in error, was based on a material

   misrepresentation or the consumer obtained goods, services or money as a result of the blocked

   transaction. See 15 U.S.C. § 1681c-2(c)(1).




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          23.     In the absence of such a determination of material misrepresentation or error, a

   CRA cannot decline a request to block without first requesting additional information from the

   consumer for the purpose of determining the validity of the alleged identity theft. See 12 C.F.R.

   § 1022.3(i)(1)(iii)(A).

          24.     “[I]f a CRA receives a police report containing detailed information as well as

   the signature, badge number, or other identifying information for the officer taking the report,

   it is not reasonable for the CRA to request additional information without ‘an identifiable

   concern,’ such as an indication that the report was fraudulent.” See Osada v. Experian Info.

   Solutions, Inc., No. 11-C-2856, 2012 WL 1050067, at *3 (N.D. Ill. Mar. 28, 2012) (citing 16

   C.F.R. § 603.3(c)(1) (renumbered at 12 C.F.R. § 1022.3(i)(3)(i)).

          25.     Furthermore, the FCRA requires a nationwide CRA that receives a consumer’s

   dispute alleging identity theft, including a request to block, to notify the other CRAs of the

   complaint, and to maintain procedures for such referral. See 15 U.S.C. §1681s(f).

          26.     “The aim of the Fair Credit Reporting Act is to see that the credit reporting

   system serves the consumer as well as the industry. The consumer has a right to information

   which is accurate; he has a right to correct inaccurate or misleading information; he has a right

   to know when inaccurate information is entered into his file; he has a right to see that the

   information is kept confidential and is used for the purpose for which it is collected; and he has

   a right to be free from unwarranted invasions of his personal privacy.” The Fair Credit

   Reporting Act seeks to secure these rights.” See Hearings on S. 823 Before the Subcomm. on

   Financial Institutions of the S. Comm. on Banking and Currency, 91st Cong. 2 (1969).

          27.     A “furnisher of information” provides information about consumers’ credit

   history to credit reporting agencies. See 15 U.S.C. §1681s-2.

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          28.     “Furnishers of information” under the FCRA, pursuant to 15 U.S.C. §1681s-

   2(b) to conduct a reasonable investigation into each of the ID Theft disputes that it receives

   from the credit reporting agencies. See Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295,

   1302 (11th Cir. 2016).

          29.     Congress also found that “[c]onsumer reporting agencies have assumed a vital

   role in assembling and evaluating consumer credit and other information on consumers” and

   that “[t]here is a need to ensure that consumer reporting agencies exercise their grave

   responsibilities with fairness, impartiality, and a respect for the consumer's right to privacy.”

   See 15 U.S.C. § 1681(a)(3), (4).

          30.     The FCRA requires credit reporting agencies to “follow reasonable procedures

   to assure maximum possible accuracy of” consumer reports. 15 U.S.C. § 1681e(b). If a

   consumer disputes information contained in their credit report, the FCRA requires a credit

   reporting agency to “conduct a reasonable reinvestigation to determine whether the disputed

   information is inaccurate and record the current status of the disputed information, or delete

   the item from the file in accordance with paragraph (5), before the end of the 30-day period

   beginning on the date on which the agency receives the notice of the dispute from the consumer

   or reseller.” See 15 U.S.C.S. § 1681i(a)(1)(A).

          31.     In performing the reinvestigation, the FCRA requires a credit reporting agency

   to “review and consider all relevant information submitted by the consumer in the period

   described in paragraph (1)(A) with respect to such disputed information.” See 15 U.S.C.S. §

   1681i(a)(4).

          32.     If the disputed information is inaccurate or incomplete or cannot be verified, the

   consumer reporting agency “shall…(i) promptly delete that item of information from the file

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   of the consumer, or modify that item of information, as appropriate, based on the results of the

   reinvestigation; and (ii) promptly notify the furnisher of that information that the information

   has been modified or deleted from the file of the consumer.” See 15 U.S.C. §

   1681(a)(5)(A)(i),(ii).

            33.     The FCRA provides a private right of action against any person that violates the

   provisions of the FCRA. See 15 U.S.C. §§ 1681o, 1691n.

            34.     If the violation is negligent, the FCRA allows the consumer to recover actual

   damages (§ 1681o(a)); however, if the violation is willful, the consumer may recover any actual

   damages or statutory damages from not less than $100.00 and not more than $1,000. See 15

   U.S.C. § 1681n(a).

            35.     If the Violation is willful under § 1681n(a) the violator is liable to that consumer

   in an amount equal to the sum of any actual damages sustained by the consumer as a result of

   the failure or damages of not less than $100 and not more than $1,000; such amount of punitive

   damages as the court may allow; and in the case of any successful action to enforce any liability

   under this section, the costs of the action together with reasonable attorney’s fees as determined

   by the court.

            36.     The FCRA provides that “[n]o person shall sell, transfer for consideration, or

   place for collection a debt that such person has been notified under §1681c-2a of this title

   has resulted from identity theft.” See 15 U.S.C. §1681m(f)(1) 1 (emphasis added).




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     15 U.S.C. §1681m(8)(A) does not allow for civil liability for either negligent or willful noncompliance
    of the entire section.
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          The FCCPA

          37.     The FCCPA’s goal is to “provide the consumer with the most protection

   possible.” See LeBlanc v. Unifund CCR Partners, 601.F. 3d 1185, 1192 (11th Cir. 2010) (citing

   Fla. Stat. § 559.552)).

          38.     The FCCPA mandates that “no person” shall engage in certain practices in

   collecting consumer debt. Fla. Stat. § 559.72. This language includes all unlawful attempts at

   collecting consumer debts by creditors and debt collectors alike. See Williams v. Streeps Music

   Co.,333 So. 2d 65, 67 (Fla. 4th DCA 1976).

          39.     The FCCPA provides that no person shall “[d]isclose to a person other than the

   debtor or her or his family information affecting the debtor’s reputation, whether or not for

   credit worthiness, with knowledge or reason to know that the other person does not have a

   legitimate business need for the information or that the information is false.” See Fla. Stat. §

   559.72(5).

          40.     The FCCPA further provides that no person shall “claim, attempt, or threaten to

   enforce a debt when such person knows that the debt is not legitimate or assert the existence

   of some other legal right when such person knows that the right does not exist.” See Fla. Stat.

   § 559.72(9).

          41.     “The court may, in its discretion, award punitive damages and may provide such

   equitable relief as it deems necessary or proper, including enjoining the defendant from further

   violations of this part.” See Fla. Stat. §559.77(2).




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           44.     Shortly after Mrs. Ketchedjian received the letter from Radius, she called to

    dispute the charge and informed Radius she never had an account with TD Bank, therefore she

    suspected her identity had been stolen.

           45.     Radius suggested Mrs. Ketchedjian complete a police report if she believed her

    identity had been stolen and then submit it to Radius.

           46.     After Mrs. Ketchedjian received the initial letter from Radius, TD Bank sent a

    monthly statement to her alleging she owed $12 411.66 (“Disputed Amount.”).

           47.     On December 2, 2022, the Fort Lauderdale Police Department contacted Mrs.

    Ketchedjian to document her claims of identity theft. The responding officer completed the

    identity theft report and issued an incident report number: 342212215723-1 (“Police Report.”)

           48.     After the Police Report was completed, Mrs. Ketchedjian provided it to Radius

    who responded by sending her a Debt Validation Letter on or about December 28, 2022. A

    copy of the Debt Validation Letter is attached hereto as part of Composite Exhibit “A.”

           49.     Mrs. Ketchedjian reviewed her available credit reports and saw the TD Bank

    account was being reported to all the CRAs with a charge off status.

           50.     On or about April 20, 2023, Mrs. Ketchedjian sent a dispute letter identifying

    herself as a victim of identity theft with accompanying documentation to the CRAs and

    courtesy copied TD Bank (“First Dispute.”) A redacted copy of the First Dispute is attached

    hereto as Composite Exhibit “A.”

           51.     The supporting documentation in the First Dispute included the Police Report,

    an Identity Theft Affidavit, Mrs. Ketchedjian’s driver's license, and the two letters she received

    from Radius. See Exhibit “A.”



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           52.     On April 28, 2023, Trans Union denied Mrs. Ketchedjian’s request to block the

    fraudulent information related to the TD Bank account.

           53.     On April 28, 2023, Experian informed Mrs. Ketchedjian that her investigation

    results related to TD Bank were still pending.

           54.     On May 6, 2023, Equifax denied Mrs. Ketchedjian’s request to block the

    fraudulent information related to the TD Bank account. In the same communication Equifax

    claimed Plaintiff did not identify herself and asked for additional documentation when such

    information that was requested was already provided in the First Dispute. The Police Report

    shows Mrs. Ketchedjian provided the responding officer with two forms of identification: her

    social security card and driver’s license with the corresponding numbers for each form of

    identification. See Exhibit “A.”

           55.     In response to the First Dispute, TD Bank verified the debt to all three CRAs

    who then provided their reinvestigation results to Mrs. Ketchedjian.

           56.     All CRAs continued to report the TD Bank account despite receiving the dispute

    with supporting information that the account was the result of identity theft.

           57.     On August 3, 2023, Mrs. Ketchedjian disputed the TD Bank Account again by

    sending a second set of dispute letters to the CRAs with a copy sent to TD Bank (“Second

    Dispute”.) A redacted copy of the Second Dispute is attached hereto as Composite Exhibit “B.”

           58.     In the Second Dispute, Mrs. Ketchedjian referenced each CRAs refusal to block

    the disputed information because of her previous credit history and her habit of paying her

    recurring obligations on time. See Exhibit “B.”

           59.     Mrs. Ketchedjian had also recently applied for credit and was only approved for

    a $500 limit through Chase with an interest rate of over 20% APR.
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            60.     Unless and until the TD Bank account is blocked or deleted from Mrs.

    Ketchedjian’s credit files with the CRAs, the fraudulent information regarding the account will

    continue to be viewed by third parties when she applies for credit. As a result, Mrs. Ketchedjian

    will continue to receive lower credit limits and higher interest rates when she is approved, or

    she will be denied credit.

                     FACTUAL ALLEGATIONS COMMON TO FCCPA CLAIMS

            61.     During the relevant time period, TD Bank sent Mrs. Ketchedjian multiple

    monthly statements in an attempt to collect a debt totaling $12,411.66 that she was disputing

    was the result of identity theft.

            62.     In her dispute letters to the CRAs, Mrs. Ketchedjian notified TD Bank that the

    account opened in her name was the result of identity theft.

            63.     On September 18, 2023, Mrs. Ketchedjian received a letter from a debt

    collector, Synergetic Communications, Inc. (“Synergetic Communications”), demanding

    payment on behalf of TD Bank for $12,411.66 which appeared with the following image and

    information:




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    purposes of collecting a debt without disclosing the fact that Mrs. Ketchedjian had previously

    disputed the debt.

                         COUNT I - VIOLATIONS OF 15 U.S.C. §1681s-2(b)
                                      AGAINST TD BANK

           66.     Plaintiff incorporates by reference the allegations in paragraphs 1, 3 – 10, 15 –

    36, and 42 – 60 as if fully stated herein.

           67.     TD Bank is a furnisher under the FCRA because it provides information

    concerning consumers to credit reporting agencies.

           68.     TD Bank violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

    investigate Plaintiff’s First and Second Disputes when it failed to review all relevant

    information regarding the alleged debt.

           69.     Additionally, TD Bank violated §1681s-2(b) by failing to accurately respond to

    Plaintiff’s disputes forwarded by the CRAs concerning the account TD Bank reported.

           70.     As a result of TD Bank’s violations of the FCRA, Plaintiff has suffered damages

    including but not limited to receiving unfavorable credit terms, mental pain and anguish,

    emotional distress, credit defamation, time spent dealing with credit report disputes, and the

    costs associated with his disputes.

           71.     TD Bank’s acts and/or omissions were willful, rendering it liable to Plaintiff for

    punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

           72.     In the alternative, TD Bank negligently violated FCRA entitling Plaintiff to

    recover under 15 U.S.C. §1681o.

           73.     Plaintiff is entitled to an award of prevailing party attorney’s fees pursuant to

    15 U.S.C. §1681.


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           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against TD Bank:

                 a. Adjudging that TD Bank has violated 15 U.S.C. §1681s-2(b);

                 b. Awarding Plaintiff actual damages;

                 c. statutory damages;

                 d. attorneys’ fees, litigation expenses and costs;

                 e. and such other relief as the Court deems just and proper.

                       COUNT II – VIOLATIONS OF FLA. STAT. §559.72(5)
                                     AGAINST TD BANK

           74.      Plaintiff incorporates by reference the allegations in paragraphs 1, 3 – 10, 37 –

    41, and 62 – 66.

           75.      At all times relevant to this action, TD Bank is subject to and must abide by the

    law of State of Florida, including Florida Statute § 559.72.

           76.      The FCCPA provides that no person shall “[d]isclose to a person other than the

    debtor or her or his family information affecting the debtor’s reputation, whether or not for

    credit worthiness, with knowledge or reason to know that the other person does not have a

    legitimate business need for the information or that the information is false.” See Fla. Stat. §

    559.72(5).

           77.      TD Bank knew or had reason to know that the information it disclosed to

    Synergetic Communications regarding Plaintiff was false.

           78.      Plaintiff had previously put TD Bank on notice about this false information in

    her communications with Radius and in her disputes submitted to the CRAs.




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              79.   However, TD Bank still referred the fraudulent account to Synergetic

    Communications for the purpose of collecting a debt.

              80.   Additionally, The FCRA provides that “[n]o person shall sell, transfer for

    consideration, or place for collection a debt that such person has been notified under

    §1681c-2a of this title has resulted from identity theft.” See 15 U.S.C. §1681m(f)(1) (emphasis

    added).

              81.   “Any person who fails to comply with any provision of §559.72 is liable for

    actual damages and for additional statutory damages as the court may allow, but not exceeding

    $1,000, together with court costs and reasonable attorney’s fees incurred by the plaintiff. In

    determining the defendant’s liability for any additional statutory damages, the court shall

    consider the nature of the defendant’s noncompliance with §559.72, the frequency and

    persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

    See Fla. Stat. §559.77(2).

              82.   As a result of TD Bank’s FCCPA violations Plaintiff has suffered damages

    including but not limited to time spent addressing TD Bank’s illegal collection practices,

    misrepresentation of an amount to a third party, damage to her reputation, and emotional

    distress related to claims that she owes amounts that were fraudulently obtained in her name.

              83.   Damages in the form of reputation being affected are the “class of injury where

    damages are difficult to prove and at the same time provide a penalty to dissuade parties . . .

    from engaging in collection practices which may have been heretofore tolerated industry

    wide.” See Laughlin v. Household Bank, 969 So. 2d 509, 513 (Fla. 1st DCA. 2007) (quoting

    Harris v. Beneficial Finance Company of Jacksonville, 338 So.2d 196, 200 (Fla. 1976)).

    Accordingly, Plaintiff “is not required to prove actual damages, but only a violation of one of
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    the prohibited practices in the FCCPA.” Id. “As discussed above, by enacting section 559.77,

    the Legislature intended to provide statutory damages in an area where the amount of damages

    are difficult to calculate.” Id. at 514.

            WHEREFORE, Plaintiff respectfully requests this Court to enter:

                  a. Injunctive relief preventing TD Bank from further violations of the FCCPA;

                  b. Actual, statutory, and punitive damages pursuant to Fla. Stat. § 559.77;

                  c. attorneys’ fees, litigation expenses and costs of the instant suit; and

                  d. such other or further relief as the Court deems proper.

                       COUNT III – VIOLATIONS OF FLA. STAT. §559.72(6)
                                     AGAINST TD BANK

            84.      Plaintiff incorporates by reference the allegations in paragraphs 1, 3 – 10, 37 –

    41, and 62 – 66.

            85.      At all times relevant to this action, TD Bank is subject to and must abide by the

    law of State of Florida, including Florida Statute § 559.72.

            86.      TD Bank violated Fla. Stat. §559.72(6) by disclosing information concerning

    the existence of a debt known to be reasonably disputed by the debtor without disclosing that

    fact.

            87.      TD Bank disclosed to Synergetic Communications that Plaintiff owed

    $12,144.66, which Plaintiff reasonably disputed multiple times, but TD Bank failed to disclose

    that fact to Synergetic Communications.

            88.      “Any person who fails to comply with any provision of s. 559.72 is liable for

    actual damages and for additional statutory damages as the court may allow, but not exceeding

    $1,000, together with court costs and reasonable attorney’s fees incurred by the plaintiff. In

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    determining the defendant’s liability for any additional statutory damages, the court shall

    consider the nature of the defendant’s noncompliance with s.559.72, the frequency and

    persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

    See Fla. Stat. 559.77(2).

           89.      Because of TD Bank’s FCCPA violations Plaintiff suffered harm has suffered

    damages including but not limited to time spent addressing TD Bank’s illegal collection

    practices, misrepresentation of an amount to a third party, damage to her reputation, and

    emotional distress related to claims that she owes amounts that were fraudulently obtained in

    her name.

           WHEREFORE, Plaintiff respectfully requests this Court to enter:

                 a. Injunctive relief preventing TD Bank from further violations of the FCCPA;

                 b. Actual, statutory, and punitive damages pursuant to Fla. Stat. § 559.77;

                 c. attorneys’ fees, litigation expenses and costs of the instant suit; and

                 d. such other or further relief as the Court deems proper.

                          COUNT IV – VIOLATIONS OF FLA. STAT. §559.72(7)
                                     AGAINST TD BANK

           90.      Plaintiff incorporates by reference the allegations in paragraphs 1, 3 – 10, 37 –

    41, and 62 – 66 as if fully stated herein.

           91.      At all times relevant to this action, TD Bank is subject to and must abide by the

    laws of State of Florida, including Fla. Stat. §559.72.

           92.      TD Bank violated Florida Statute § 559.72(7) by “[w]illfully communicat[ing]

    with the debtor or any member of her or his family with such frequency as can reasonably be




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    expected to harass the debtor or her or his family, or willfully engage in other conduct which

    can reasonably be expected to abuse or harass the debtor or any member of her or his family.”

           93.     TD Bank has repeatedly tried to collect money from Mrs. Ketchedjian through

    direct communications, or indirectly through Synergetic Communications, despite being on

    notice that the debt in question is fraudulent. See Braun v. TD Bank, No. 8:20-cv-2951-VMC-

    TGW (M.D. Fla. Mar. 23, 2021).

           94.     “Any person who fails to comply with any provision of § 559.72 is liable for

    actual damages and for additional statutory damages as the court may allow, but not exceeding

    $1,000, together with court costs and reasonable attorney’s fees incurred by the plaintiff. In

    determining the defendant’s liability for any additional statutory damages, the court shall

    consider the nature of the defendant’s noncompliance with § 559.72, the frequency and

    persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

    See Fla. Stat. 559.77(2).

           95.     Because of TD Bank’s FCCPA violations, Plaintiff suffered damages, including

    but not limited to, time spent addressing TD Bank’s illegal collection practices and emotional

    distress related to TD Bank’s attempts to collect amounts that are due to fraud.

           WHEREFORE, Plaintiff respectfully requests this Court to enter:

              a.   Injunctive relief preventing TD Bank from further violations of the FCCPA;

              b.   Actual, statutory, and punitive damages pursuant to Fla. Stat. § 559.77;

              c.   attorneys’ fees, litigation expenses and costs of the instant suit; and

              d.   such other or further relief as the Court deems proper.




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                      COUNT V – VIOLATIONS OF FLA. STAT §559.72(9)
                                   AGAINST TD BANK

            96.    Plaintiff incorporates by reference the allegations in paragraphs 1, 3 – 10, 37 –

    41, and 62 – 66 as if fully stated herein.

            97.    At all times relevant to this action, TD Bank is subject to and must abide by the

    laws of State of Florida, including Fla. Stat. §559.72.

            98.    TD Bank violated Fla. Stat. §559.72(9) by claiming, attempting, or threatening

    to enforce a debt when TD Bank knew or should have known that the debt was not legitimate,

    or asserting the existence of some other legal right when TD Bank knew that right did not exist.

            99.    FCRA provides “[n]o person shall sell, transfer for consideration, or place for

    collection a debt that such person has been notified under §1681c-2a of this title has

    resulted from identity theft.” See 15 U.S.C. §1681m(f)(1) (emphasis added).

            100.   Despite such a prohibition, TD Bank placed the account for collection with

    Synergetic Communications.

            101.   Subsequently, Plaintiff received the September 18, 2023 debt collection letter

    from Synergetic Communications, on behalf of TD Bank to collect $12,411.66 from Plaintiff.

            102.   “Communication” means the conveying of information regarding a debt directly

    or indirectly to any person through any medium. Accordingly, TD Bank indirectly

    communicated with Plaintiff to collect a debt despite being prohibited from doing so under the

    FCRA.

            103.   “Any person who fails to comply with any provision of §559.72 is liable for

    actual damages and for additional statutory damages as the court may allow, but not exceeding

    $1,000, together with court costs and reasonable attorney’s fees incurred by the plaintiff. In

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    determining the defendant’s liability for any additional statutory damages, the court shall

    consider the nature of the defendant’s noncompliance with §559.72, the frequency and

    persistence of the noncompliance, and the extent to which the noncompliance was intentional.”

    See Fla. Stat. 559.77(2).

            104.   As a result of TD Bank’s practices, Plaintiff has suffered damages including but

    not limited to time spent addressing TD Bank’s illegal collection practices, misrepresentation

    of an amount to a third party, damage to her reputation for credit worthiness, and emotional

    distress.

            WHEREFORE, Plaintiff respectfully requests this Court to enter:

                a. Injunctive relief preventing TD Bank from further violations of the FCCPA;

                b. Actual, statutory, and punitive damages pursuant to Fla. Stat. § 559.77;

                c. attorneys’ fees, litigation expenses and costs of the instant suit; and

                d. such other or further relief as the Court deems proper.

                        COUNT VI – VIOLATIONS OF 15 U.S.C. 1681c-2
                                AGAINST TRANS UNION

            105.   Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 - 7, 11,

    15 – 36, and 42 – 60 as if fully set forth herein.

            106.   At all times relevant hereto, Trans Union is and was a “consumer reporting

    agency” as provided for under the FCRA.

            107.   At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

            108.   During the relevant timeframe, Trans Union received Plaintiff’s First and

    Second Disputes which requested a block of the TD Bank account.

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           109.    Plaintiff disputed the TD Bank account on her Trans Union credit report,

    identified herself, advised Trans Union of the fraudulent TD Bank account, furnished Trans

    Union with a copy of the Police Report, and requested that Trans Union block the fraudulent

    information.

           110.    In response to her dispute, Trans Union continued to report the tradeline.

           111.    Rather than block the fraudulent information or request specific additional

    information from Plaintiff, Trans Union negligently and willfully disregarded its obligations

    under the FCRA by merely seeking verification of the disputed account from the furnisher of

    that credit information and refusing to follow the FCRA requirements to block the reporting of

    fraudulent information in credit reports after it was presented with an identity theft report, in

    violation of section 1681c-2.

           112.    Trans Union’s acts or omissions were willful, rendering it liable to Plaintiff for

    punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

           113.    Alternatively, Trans Union negligently violated FCRA entitling Plaintiff to

    recover under 15 U.S.C. §1681o.

           114.    As a result of Trans Union’s FCRA violations, Plaintiff suffered mental and

    emotional distress associated with inaccurate information in her credit file, damage to her

    reputation for credit worthiness, receiving unfavorable credit terms, , loss of the ability to

    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff, prays this Honorable Court to enter the following relief

    against Trans Union in the form of:

               a. Actual damages in an amount to be determined by the jury;
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                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court; Attorneys’ fees, litigation

                    expenses and costs;

                d. Interest as permitted by law; and

                e. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                         COUNT VII – VIOLATIONS OF 15 U.S.C. §1681i
                                 AGAINST TRANS UNION

            115.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 - 7, 11,

    15 – 36, and 42 - 60 as if fully set forth herein.

            116.    At all times relevant hereto, Trans Union is and was a “consumer reporting

    agency” as provided for under the FCRA.

            117.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

            118.    During the relevant time frame, Trans Union received Plaintiff’s First and

    Second Disputes regarding the accuracy or completeness of the TD Bank account appearing

    on Plaintiff’s consumer disclosure.

            119.    Trans Union violated 15 U.S.C. § 1681i by failing to correct, update or delete

    inaccurate information in Plaintiff’s credit file after receiving actual notice of inaccuracies

    contained therein.

            120.    Trans Union unreasonably relied on information provided by TD Bank, when

    readily verifiable information that Plaintiff provided in the First and Second Disputes placed

    Trans Union on notice that TD Bank’s information was inaccurate and unreliable.

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            121.    Trans Union’s acts or omissions were willful, rendering it liable to Plaintiff for

    punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

            122.    Alternatively, Trans Union negligently violated FCRA entitling Plaintiff to

    recover under 15 U.S.C. §1681o.

            123.    As a result of Trans Union’s FCRA violations, Plaintiff suffered mental and

    emotional distress associated with inaccurate information in her credit file, damage to her

    reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to

    purchase and benefit from credit, mental and emotional distress , time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

            WHEREFORE, Plaintiff, prays this Honorable Court to enter the following relief

    against Trans Union in the form of:

                a. Actual damages in an amount to be determined by the jury;

                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court;

                d. Attorneys’ fees, litigation expenses and costs;

                e. Interest as permitted by law; and

                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                      COUNT VIII – VIOLATIONS OF 15 U.S.C. §1681e(b)
                                AGAINST TRANS UNION

            124.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 - 7, 11,

    15 – 36, and 42 - 60 as if fully set forth herein.




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           125.    At all times relevant hereto, Trans Union is and was a “consumer reporting

    agency” as provided for under the FCRA.

           126.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

           127.    Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

    reasonable procedures to assure maximum possible accuracy in the preparation of the credit

    report and credit files it publishes and maintains concerning the Plaintiff.

           128.    Any users of credit reports that viewed the TD Bank account saw the $12,411.66

    in fraudulent charges after Plaintiff’s First and Second Disputes.

           129.    Trans Union’s acts and/or omissions were willful, rendering it liable to Plaintiff

    for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

           130.    In the alternative, Trans Union negligently violated FCRA entitling Plaintiff to

    recover under 15 U.S.C. §1681o.

           131.    As a result of Trans Union’s failures to comply with the FCRA, Plaintiff

    suffered mental and emotional distress associated with inaccurate information in her credit file,

    damage to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the

    ability to purchase and benefit from credit, mental and emotional distress, time spent dealing

    with credit report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff, prays this Honorable Court to enter the following relief

    against Trans Union in the form of:

                a. Actual damages in an amount to be determined by the jury;

                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court;
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                d. Attorneys’ fees, litigation expenses and costs;

                e. Interest as permitted by law; and

                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                        COUNT IX – VIOLATIONS OF 15 U.S.C. §1681c-2
                                   AGAINST EXPERIAN

           132.    Plaintiff incorporates by reference her allegations in paragraphs 2, 3, 5 - 7, 12,

    15 – 36, 42 – 58, and 65 - 67 as if fully set forth herein.

           133.    At all times relevant hereto, Experian was and is a “consumer reporting agency”

    as defined by the FCRA.

           134.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

           135.    During the relevant time period, Experian received Plaintiff’s First and Second

    Disputes which requested a block of the TD Bank account.

           136.    Plaintiff disputed the TD Bank account on her Experian credit report, identified

    herself, advised Experian of the fraudulent TD Bank account, furnished Experian with a copy

    of the Police Report, and requested that Experian block the fraudulent information.

           137.    Instead of blocking the information, Experian placed an extended fraud alert

    after it refused to block the TD Bank account.

           138.    Rather than block the fraudulent information or request specific additional

    information from Plaintiff, Experian negligently and willfully disregarded its obligations under

    the FCRA by ignoring Plaintiff's request to block the fraudulent information.




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           139.    Alternatively, Experian failed to block the TD Bank account and violated the

    FCRA by merely seeking verification of the disputed account from the furnisher of that credit

    information and refusing to follow the FCRA requirements to block the reporting of fraudulent

    information in credit reports after it was presented with an identity theft report, in violation of

    section 1681c-2.

           140.    Experian’s acts and/or omissions were willful, rendering it liable for punitive

    damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

           141.    In the alternative, Experian negligently violated the FCRA entitling Plaintiff to

    recover under 15 U.S.C. §1681o.

           142.    As a result of Experian’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

    to her reputation for credit worthiness, receiving unfavorable credit terms, , loss of the ability

    to purchase and benefit from credit, mental and emotional distress, time spent dealing with

    credit report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Experian in the form of:

               a. Actual damages in an amount to be determined by the jury;

               b. Punitive damages in an amount to be determined by the jury;

               c. Statutory damages as determined by the Court;

               d. Attorneys’ fees, litigation expenses and costs;

               e. Interest as permitted by law; and

               f. Such other and further relief including as the Court deems equitable and just

                   under the circumstances.
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                          COUNT X – VIOLATIONS OF 15 U.S.C. §1681i
                                   AGAINST EXPERIAN

           143.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 - 7, 12,

    15 – 36, and 42 – 60 as if fully set forth herein.

           144.    At all times relevant hereto, Experian is and was a “consumer reporting agency”

    as provided for under the FCRA.

           145.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

           146.    During the relevant time frame, Experian received Plaintiff’s First and Second

    Disputes regarding the accuracy or completeness of the TD Bank account appearing on

    Plaintiff’s consumer disclosure.

           147.    Experian violated 15 U.S.C. § 1681i by failing to correct, update or delete

    inaccurate information in Plaintiff’s credit file after receiving actual notice of inaccuracies

    contained therein.

           148.    Experian unreasonably relied on information provided by TD Bank, when

    readily verifiable information that Plaintiff provided in the First and Second Disputes placed

    Experian on notice that TD Bank’s information was inaccurate and unreliable.

           149.    Experian’s acts or omissions were willful, rendering it liable to Plaintiff for

    punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

           150.    Alternatively, Experian negligently violated FCRA entitling Plaintiff to recover

    under 15 U.S.C. §1681o.

           151.    As a result of Experian’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

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    to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to

    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

            WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Experian in the form of:

                a. Actual damages in an amount to be determined by the jury;

                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court;

                d. Attorneys’ fees, litigation expenses and costs;

                e. Interest as permitted by law; and

                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                        COUNT XI – VIOLATION OF 15 U.S.C. § 1681e(b)
                                   AGAINST EXPERIAN

            152.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 - 7, 12,

    15 – 36, and 42 - 60 as if fully set forth herein.

            153.    At all times relevant hereto, Experian is and was a “consumer reporting agency”

    as provided for under the FCRA.

            154.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

            155.    Experian violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

    reasonable procedures to assure maximum possible accuracy in the preparation of the credit

    report and credit files it publishes and maintains concerning the Plaintiff.


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           156.    Any users of credit reports that viewed the TD Bank account saw the $12,411.66

    in fraudulent charges after Plaintiff’s First and Second Disputes.

           157.    As a result of Experian’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

    to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to

    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Experian in the form of:

                a. Actual damages in an amount to be determined by the jury;

                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court;

                d. Attorneys’ fees, litigation expenses and costs;

                e. Interest as permitted by law; and

                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

            COUNT XII – VIOLATION OF 15 U.S.C. 1681c-2 AGAINST EQUIFAX

           158.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 – 7, 13,

    15 – 36, and 42 – 60 as if fully set forth herein.

           159.    At all times relevant hereto, Equifax was and is a was and is a “consumer

    reporting agency” as defined by the FCRA.

           160.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.
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            161.    During the relevant time frame Equifax received Plaintiff’s First and Second

    Disputes which requested a block of the TD Bank account.

            162.    Plaintiff disputed the TD Bank account on her Equifax credit report, identified

    herself, advised Equifax of the fraudulent related to the TD Bank account, furnished Equifax

    with a copy of the Police Report, and requested that Equifax block the fraudulent information.

            163.    Instead of blocking the information, Equifax placed an extended fraud alert on

    Plaintiff’s Equifax credit file.

            164.    Rather than block the fraudulent information or request specific additional

    information from Plaintiff, Equifax negligently and willfully disregarded its obligations under

    the FCRA by ignoring Plaintiff's request to block the fraudulent information.

            165.    Alternatively, Equifax failed to block the TD Bank account and violated the

    FCRA by merely seeking verification of the disputed account from the furnisher of that credit

    information and refusing to follow the FCRA requirements to block the reporting of fraudulent

    information in credit reports after it was presented with an identity theft report, in violation of

    section 1681c-2.

            166.    Equifax’s acts and/or omissions were willful, rendering it liable for punitive

    damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

            167.    In the alternative, Equifax negligently violated the FCRA entitling Plaintiff to

    recover under 15 U.S.C. § 1681o.

            168.    As a result of Equifax’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

    to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to



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    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Equifax in the form of:

                a. Actual damages in an amount to be determined by the jury;

                b. Punitive damages in an amount to be determined by the jury;

                c. Statutory damages as determined by the Court;

                d. Attorneys’ fees, litigation expenses and costs;

                e. Interest as permitted by law; and

                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                         COUNT XIII – VIOLATION OF 15 U.S.C. §1681i
                                    AGAINST EQUIFAX

           169.    Plaintiff incorporates by reference his allegations in paragraphs 2, 3, 5 – 7, 13,

    15 – 36, and 42 – 60 as if fully set forth herein.

           170.    At all times relevant hereto, Equifax is and was a “consumer reporting agency”

    as provided for under the FCRA.

           171.    At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

           172.    During the relevant time frame, Equifax received Plaintiff’s First and Second

    Disputes regarding the accuracy or completeness of the TD Bank account appearing on

    Plaintiff’s consumer disclosure.




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           173.    Equifax violated 15 U.S.C. § 1681i by failing to correct, update or delete

    inaccurate information in Plaintiff’s credit file after receiving actual notice of inaccuracies

    contained therein.

           174.    Equifax unreasonably relied on information provided by TD Bank, when readily

    verifiable information that Plaintiff provided in the First and Second Disputes placed Equifax

    on notice that TD Bank’s information was inaccurate and unreliable.

           175.    Equifax’s acts or omissions were willful, rendering it liable to Plaintiff for

    punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n.

           176.    Alternatively, Equifax negligently violated FCRA entitling Plaintiff to recover

    under 15 U.S.C. §1681o.

           177.    As a result of Equifax’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

    to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to

    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Equifax in the form of:

               a. Actual damages in an amount to be determined by the jury;

               b. Punitive damages in an amount to be determined by the jury;

               c. Statutory damages as determined by the Court;

               d. Attorneys’ fees, litigation expenses and costs;

               e. Interest as permitted by law; and



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                f. Such other and further relief including as the Court deems equitable and just

                    under the circumstances.

                      COUNT XIV – VIOLATIONS OF 15 U.S.C. §1681e(b)
                                  AGAINST EQUIFAX

           178.    Plaintiff incorporates by reference her allegations in paragraphs 2, 3, 5 – 7, 13,

    15 – 36, and 42 – 60 as if fully set forth herein.

           179.    At all times relevant hereto, Equifax is and was a “consumer reporting agency”

    as provided for under the FCRA.

           180.     At all times relevant hereto, Plaintiff was a “consumer” as provided for under

    the FCRA.

           181.    Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to follow

    reasonable procedures to assure maximum possible accuracy in the preparation of the credit

    report and credit files it publishes and maintains concerning the Plaintiff.

           182.    Any users of credit reports that viewed the TD Bank account saw the $12,411.66

    in fraudulent charges after Plaintiff’s First and Second Disputes.

           183.    As a result of Equifax’s failure to comply with the FCRA, Plaintiff suffered

    mental and emotional distress associated with inaccurate information in her credit file, damage

    to her reputation for credit worthiness, receiving unfavorable credit terms, loss of the ability to

    purchase and benefit from credit, mental and emotional distress, time spent dealing with credit

    report disputes, and expenses associated with credit report disputes.

           WHEREFORE, Plaintiff prays this Honorable Court to enter the following relief for

    Plaintiff and against Equifax in the form of:

                a. Actual damages in an amount to be determined by the jury;


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              b. Punitive damages in an amount to be determined by the jury;

              c. Statutory damages as determined by the Court;

              d. Attorneys’ fees, litigation expenses and costs;

              e. Interest as permitted by law; and

              f. Such other and further relief including as the Court deems equitable and just

                  under the circumstances.

                                         JURY DEMAND

          184.   Plaintiff demands a trial by jury on all issues so triable.


    Dated: October 9, 2023                       Respectfully submitted,

                                                 SHARMIN & SHARMIN, P.A.

                                                 /s/ Kevin Rajabalee
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